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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA

VS.                                                   CRIMINAL NO. 1:07cr73-LG-RHW-002

MICHAEL ALLEN GLADNEY

                       ORDER DENYING MOTION FOR SENTENCE
                        REDUCTION UNDER 18 U.S.C. § 3582(c)(2)

             This cause is before the Court on the pro se motion of the Defendant, Michael Allen

Gladney, for retroactive application of the sentencing guidelines to his sentence [61] pursuant to

18 U.S.C. § 3582(c)(2) based upon recent amendments to the sentencing guidelines applicable to

offenses involving cocaine base, and the subsequent decision by the United States Sentencing

Commission [Sentencing Commission] to make this amendment retroactive, pursuant to United

States Sentencing Guideline § 1B1.10 [USSG] effective March 3, 2008.

      Gladney entered a guilty plea to count 5 of the indictment on November 8, 2007. (Ct. R.)

Gladney was sentenced on February 8, 2008, to term of 43 months imprisonment, a period of

supervised release of 3 years, and assessed $100. (Ct. R., Doc 46, pp. 2-3, 6.) Effective

November 1, 2007, the Sentencing Commission decreed that Amendment 706, reducing offense

levels for crack cocaine offenses, would be retroactively applicable to cases final before the

Amendment's November 1, 2007, effective date. See United States Sentencing Commission

Guidelines Manual, Supplement to Appendix C 226-31 (2007) (Amendment 706). Here, the

sentence was imposed after the effective date of the amendment and was not effected by

Amendment 706.
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    The Court’s authority under 18 U.S.C. § 3582(c)(2) and Federal Rule of Criminal Procedure

43(b)(4) to reduce a sentence extends to situations where the sentencing range has been lowered.

There has been no change in the sentencing range under the guidelines utilized to impose

Gladney’s sentence, thus he is not entitled to a reduction of his 43 month term of imprisonment.

The Court, therefore, finds that a reduction in Gladney’s term of imprisonment is not authorized

under 18 U.S.C. § 3582(c) and that his motion should be denied.

    IT IS THEREFORE ORDERED that the motion for change in sentence [61] pursuant to

18 U.S.C. § 3582(c)(2) be and is hereby denied.

    SO ORDERED AND ADJUDGED this the 27th day of August, 2008.


                                                      s/   Louis Guirola, Jr.
                                                      LOUIS GUIROLA, JR.
                                                      UNITED STATES DISTRICT JUDGE




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